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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                              CASE NO.: 1:19-CV-20277-AHS-McAliley



  MELISSA COMPERE, on behalf of herself and others
  similarly situated,

           Plaintiff,

  vs.

  NUSRET MIAMI, LLC, d/b/a Nusr-et Steakhouse,
  and NUSRET GÖKÇE,

           Defendants.

  ___________________________________________/

                JOINT MOTION TO EXTEND PRE-TRIAL AND TRIAL DEADLINES

           Plaintiff, Melissa Compere, and Defendants, Nusret Miami, LLC and Nusret Gokce,

  (collectively, the “Parties”), hereby jointly move the Court for an extension of certain pre-trial

  and trial deadlines as follows:

           1.        On August 21, 2019, the Court issued a Paperless Order Scheduling Trial in

  Miami (the “Scheduling Order”) setting trial in this matter for the two-week period commencing

  on June 8, 2020. See ECF Nos. 68, 125. The Scheduling Order set forth numerous additional

  pre-trial deadlines, including a deadline to complete all discovery by February 28, 2020. See

  ECF No. 68.

           2.        Due to complications and restrictions relating to the unforeseen and

  unprecedented COVID-19 global pandemic (the “Pandemic”), and following a joint motion by

  the Parties, the Court granted the Parties an extension of time within which to take the deposition




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  of the Corporate Representative of Paperchase Accounting “on a mutually convenient date” to be

  determined by the Parties. See ECF No. 146.

           3.        In light of the Pandemic, the Court also extended the deadline to submit

  dispositive motions, motions in limine, and Daubert motions to April 20, 2020. See ECF Nos.

  166, 168.

           4.        The Parties have been working diligently and in good-faith to meet the

  aforementioned deadlines despite the physical, personnel, and health constraints associated with

  the Pandemic.         However, as noted in previous filings, the Corporate Representative for

  Paperchase Accounting is located in New York City, which has been particularly hard-hit by the

  Pandemic, and which has instituted a mandatory stay-at-home order that has restricted movement

  and constrained resources. In addition, the respective Parties are presently attending to and

  mindful of stay-at-home orders in Florida that have additionally constrained the Parties’

  respective time and resources.         Finally, the State of Florida has issued an executive order

  mandating that all arrivals from New York, including certain of the Parties in this matter, engage

  in mandatory quarantine for a period of fourteen days upon entering the State of Florida.

           5.        In order to prevent and alleviate the undue hardship and prejudice that the current

  deadlines pose to the Parties, the Parties respectfully request a 60-day extension of time to

  complete the Paperchase Accounting deposition, and a four-month extension of all remaining

  pre-trial and trial deadlines.

           6.        It is well settled in Florida that a “district court retains the inherent authority to

  manage its own docket.” Wilson v. Farley, 203 F. App’x 239, 250 (11th Cir. 2006), cert. den.,

  549 U.S. 1351 (2007); Mingo v. Sugar Cane Growers Co-op. of Fla., 864 F.2d 101, 102 (11th

  Cir. 1989) (same). In addition, Federal Rule of Civil Procedure 6(b)(1) provides that “when an



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  act may or must be done within a specified time, the court may, for good cause shown, extend

  the time . . . if a request is made, before the original time or its extension expires . . . .”

           7.        The instant motion is made prior to the expiration of the current deadlines set by

  the Court. In addition, the instant motion is not intended to cause undue delay, and no Party will

  be prejudiced by the relief requested herein. Indeed, the Parties agree that the requested relief is

  necessary for the fair and equitable adjudication of the claims presented in this matter.

           WHEREFORE, the Parties respectfully requests that this Court: (1) permit the Parties to

  complete the deposition of the Corporate Representative of Paperchase Accounting by an

  additional 60 days; (2) enter an Order extending all remaining trial and pre-trial deadlines by a

  period of 120 days; and (3) grant such further relief as the Court deems just and proper.

                LOCAL RULE 7.1 CERTIFICATE OF GOOD FAITH CONFERRAL

           The Parties have conferred in good faith about the relief requested in this Motion,

  mutually agree thereto, and bring this motion jointly.


  Dated: April 16, 2020                            Respectfully Submitted,



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                               UNITED STATES DISTRICT COURT
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           Defendants.

  ___________________________________________/

                        [PROPOSED] ORDER GRANTING JOINT MOTION
                     FOR EXTENSION OF PRE-TRIAL AND TRIAL DEADLINES

           THIS CAUSE came before the Court on the Parties’ Joint Motion for Extension of Pre-

  Trial and Trial Deadlines (the “Motion”). The Court having considered the motion and all other

  relevant factors, it is hereby

           ORDERED AND ADJUDGED that:

           The Motion is GRANTED. The Parties shall have an additional 60 days to complete the

  deposition of the Paperchase Accounting Corporate Representative through June 19, 2020. In

  addition, the Court shall extend all remaining pre-trial and trial deadlines for a period of 120

  days from today. The trial period for this matter shall be reset by the Court.

           DONE AND ORDERED in Chambers at Miami, Dade County, Florida on this ___ day

  of April, 2020.                               ______________________________

                                                JUDGE RAAG SINGHAL
                                                DISTRICT COURT JUDGE

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